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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



UNITED STATES OF AMERICA,

        Plaintiff,
                                                        Case No. 06-20122
-vs-                                                    HON AVERN COHN

VINCENZO BRONZINO,

        Defendant.
                                          /


       ORDER GRANTING MOTION TO SUPPLEMENT THE RECORD ON APPEAL


        Defendant has filed a motion to supplement the record on appeal to include

government trial exhibits 1 to 13. The motion is GRANTED.

        SO ORDERED.




Dated: January 7, 2009                     s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE




I hereby certify that a copy of the foregoing document was mailed to the attorneys of record
on this date, January 7, 2009, by electronic and/or ordinary mail.


                                           s/Julie Owens
                                          Case Manager, (313) 234-5160
